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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


    NATHANIEL SPENCER, III,

          Plaintiff,
                                                              Case No. 1:18-cv-194
    v.
                                                              HONORABLE PAUL L. MALONEY
    EXPERIAN INFORMATION SOLUTIONS,
    INC., et al.,

          Defendants.
    ____________________________/


                         ORDER REGARDING CLOSING DOCUMENTS

         This Court having been informed through the filing of the Notice of Settlement (ECF No.

31) and by the subsequent Joint Status Report (ECF No. 32) 1 of the agreement between Plaintiff

and Defendants Equifax Inc. and Equifax Information Services LLC to settle this matter:

         IT IS HEREBY ORDERED that appropriate closing documents as to these parties shall

be filed with the Court no later than March 1, 2019.


Dated: February 15, 2019                                               /s/ Paul L. Maloney
                                                                      Paul L. Maloney
                                                                      United States District Judge




1
 The parties are reminded of W.D. Mich. LCivR. 5.7(e)(ii) which states in relevant part, “…Pro se or unrepresented
parties,…whose manuscript signature, in original or scanned form, must appear on the face of the document.”
